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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


AUDLEY REID
                                  Petitioner                      No. 25-CV-0904 (RER) (JRC)


                -agaInst-                                                 ANSWER


NINA REMEKIE,
                                  Respondent



   The Respondart NINA REMEKIE, by and through her attorneys BARROWS LEVY PLLC,
respectfully represents as follows, as and for her Answer to the Petition filed herein:

   1. The Respondent admits the allegations contained within Paragraphs “2,” “7,” “9,” “10,” “11,”
      “12,” “22,” “30” and “46” of the Petition.

   2. The Respondart admits the allegations contained within Paragraph “18” of the Petition except to
      the extent that the Respondent denies so much thereof as alleges “unlawful abduction.”

   3.   The Respondent denies each and every allegation contained within Paragraphs “13,” “15,” “16,”
        “25,” “26,” “27,” “32,” “33,” “34” and “4(F’ of the Petition and leaves the Petitionu to his proof
        thereof

   4. The Respondent denies knowledge or information suflicient to form a belief as to the truth of the
        allegations contained within Paragraphs “1,” “3,” “4,” “5,” “6,” “8,” “14,” “17,” “19,” “20,” “21,”
        “23,” “24,” “28,” “29,” “31,” “35,” “36,” “37,” “38,” “39,’ “41,” “42,” “43,” “44,” “45,” “47,”
        “48” and “49” of the Petition and leaves the Petitioner to his proof thereof.

                              FIRST SPECIAL DEFENSE
   5. The Petitioner comes before this Court with unclean hands, thereby forfeiting his right to obtain
      any equitable relief.

                               SECOND SPECIAL DEFENSE
   6. The Petitioner’s claim for relief is equitably barred by reason of his own affirmative, knowing and
      willful misconduct.

                                 THIRD SPECIAL DEFENSE
   7. The Petitioner has conducted himself in such a manner so as to pose a threat to the health, safety
      and overall physical, mental and emotional well-being of the Minor Children.
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                                FOURTH SPECIAL DEFENSE
   8. The legal custody of the Minor Children who are at issue herein has not been established by any
      court of competent jurisdiction and thus the Petitioner has no greater rights regarding legal custody
      of the Minor Children than those rights are enjoyed by the Respondent.

   9. The Respondent expressly reserves unto herself the right to amend or to otherwise supplement
      this Answer as the circumstances may dictate.


Dated: March 7, 2025
       Queens, New York




   In accordance with the provisions of 28 USC § 1746, I declare under penalty of perjury that the
foregoing is true and correct.


Executed on March 7, 2025




                                                    BARROWS LEVY          fl
                                                    By:_______________
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    Dated: March 7, 2025
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                                                    BARROWS LEVY PLLC




                  By:_____________
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